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                          UNITED STATES BANKRUPTCY COURT
                           NORTHERN DISTRICT OF GEORGIA
                                  ATLANTA DIVISION

In re:                                    :                     Case No. 24-54623-PWB
                                          :
BELINDA'S SOUTHERN CUISINE INC.,          :                     Chapter 7
                                          :
   Debtor.                                :
__________________________________________:


            SCHEDULE OF UNPAID CHAPTER 11 ADMINISTRATIVE DEBTS


         COMES NOW Belinda's Southern Cuisine Inc. (the “Debtor”) and files this SCHEDULE
OF UNPAID CHAPTER 11 ADMINISTRATIVE DEBTS showing as follows:
         1. The Debtor filed its Subchapter V Chapter 11 bankruptcy petition on May 6, 2024
(the “Petition Date”) under Chapter 11 Subchapter V of Title 11 of the United States Code, 11
U.S.C. §§ 101 et seq. (as amended, modified, or supplemented, the “Bankruptcy Code”).
Tamara M. Ogier was appointed Subchapter V trustee on May 7, 2024. In accordance with
Sections 1107 and 1108 of the Bankruptcy Code, the Debtor managed its post-Petition affairs as
a debtor in possession.
         2. Pursuant to the Debtor’s Motion filed on August 28, 2024 [Doc. No. 55], the Court
entered on Order on August 30, 2024 [Doc. No. 56] (the “Order”) converting this bankruptcy
case to Chapter 7.
         3. As required by the Order, the Debtor files this schedule of unpaid debts incurred after
the filing of the petition and before conversion of the case:


DeKalb County Finance                                 DeKalb County Finance
Attn: Legal Dept.                                     Attn: Legal Dept.
774 Jordan Lane; Suite 200                            774 Jordan Lane; Suite 200
Decatur, GA 30033                                     Decatur, GA 30033
water and sewer bill                                  Sanitation bill
account number -4302                                  account number -5751
$4,677.99                                             $1,831.19
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DeKalb County Finance                           NuCO2
Attn: Legal Dept.                               Attn: Legal Dept.
PO Box 71224                                    2800 SE Market Place
Charlotte, NC 28272-1224                        Stuart, FL 34997
                                                vendor debt
DeKalb County Finance                           $631.20
Attn: Legal Dept.
1300 Commerce Drive                             State Chemical Solutions
Decatur, GA 30030                               5915 Landerbrook Drive
                                                Suite 300
Gordon Food Service                             Mayfield Heights, OH 44124
PO Box 1787                                     vendor debt
Grand Rapids, MI 49501-1787                     account #-5632
vendor debt
customer #-8456                                 Comcast Business
$2,544.37                                       Attn: Legal Dept.
                                                1701 JFK Boulevard
Georgia Power                                   Philadelphia, PA 19103
Attn: Legal Dept.                               utility service
96 Annex                                        account #-1003855
Atlanta, GA 30396
utility bill                                    Comcast Business
account #-69038                                 Attn: Legal Dept.
$11,138.24                                      8200 Mall Parkway Suite B170
                                                Lithonia, GA 30038

Dated: September 29, 2024

Prepared and submitted,
PAUL REECE MARR, P.C.
Debtor’s counsel

/s/ Paul Reece Marr
GA Bar # 471230
6075 Barfield Road
Suite 213
Sandy Springs, GA 30328
770-984-2255
paul.marr@marrlegal.com



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                          UNITED STATES BANKRUPTCY COURT
                          NORTHERN DISTRICT OF GEORGIA
                                 ATLANTA DIVISION

In re:                                    :                Case No. 24-54623-PWB
                                          :
BELINDA'S SOUTHERN CUISINE INC.,          :                Chapter 7
                                          :
   Debtor.                                :
__________________________________________:



                                CERTIFICATE OF SERVICE

       This is to certify that I have on this day electronically filed the foregoing SCHEDULE
OF UNPAID CHAPTER 11 ADMINISTRATIVE DEBTS using the Bankruptcy Court’s Electronic
Case Filing program, which sends a notice of this document and an accompanying link to this
document to all registered parties who have filed appearances in the above captioned case as
follows:

Alan Hinderleider on behalf of U.S. Trustee         Tamara M. Ogier (Sub V Trustee)
United States Trustee                               tmo@orratl.com,
Alan.Hinderleider@usdoj.gov                         jc@orratl.com;tmo@trustesolutions.net;ctm
                                                    o11@trustesolutions.net
Kenneth Mitchell on behalf of Debtor
Belinda's Southern Cuisine Inc.                     Todd Robinson on behalf of Creditor
gmapclaw1@gmail.com,                                Newtek Small Business Finance, LLC
kmitchell5000@gmail.com                             todd@rfllplaw.com


        In addition, I hereby certify that on this day I caused a true and correct copy of the
document to be deposited in the U.S. Mail with sufficient postage to ensure delivery addressed to
the following parties at the following addresses:

DeKalb County Finance                               DeKalb County Finance
Attn: Legal Dept.                                   Attn: Legal Dept.
PO Box 71224                                        1300 Commerce Drive
Charlotte, NC 28272-1224                            Decatur, GA 30030




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DeKalb County Finance                             NuCO2
Attn: Legal Dept.                                 Attn: Legal Dept.
774 Jordan Lane                                   2800 SE Market Place
Suite 200                                         Stuart, FL 34997
Decatur, GA 30033
                                                  State Chemical Solutions
Gordon Food Service                               5915 Landerbrook Drive
PO Box 1787                                       Suite 300
Grand Rapids, MI 49501-1787                       Mayfield Heights, OH 44124

Georgia Power                                     Comcast Business
Attn: Legal Dept.                                 Attn: Legal Dept.
96 Annex                                          1701 JFK Boulevard
Atlanta, GA 30396                                 Philadelphia, PA 19103

                                                  Comcast Business
                                                  Attn: Legal Dept.
                                                  8200 Mall Parkway Suite B170
                                                  Lithonia, GA 30038


      This the 29th day of September, 2024.
                                                  /s/ Paul Reece Marr
                                                  Paul Reece Marr
                                                  GA Bar No. 471230
Paul Reece Marr, P.C.
6075 Barfield Road
Suite 213
Sandy Springs, GA 30328
Telephone: 770-984-2255
Email: paul.marr@marrlegal.com




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